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                                                        U.S. Department of Justice
                                                        United States Attorney
                                                        District of Maryland

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Assistant United States Attorney                        36 S. Charles Street           MAIN: 410-209-4800
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                                                 January 28, 2019


James Wyda, Esq.
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Office of the Federal Public Defender
100 S Charles St., Ste. 900
Baltimore, MD 21201

           By Electronic Mail


                                                 Re:    Digital discovery in the Case of
                                                        United States v. Harold Martin, III
                                                        Criminal No. RDB-17-0069


Dear Counsel:

        Pursuant to the Court’s Order dated January 9, 2019 (ECF 189), paragraph 1(b), the
government herby gives notice that it has not located any evidence on the computers seized from
the defendant that any of the eight digital documents underlying the Indictment were opened on
those machines. A proposed stipulation relating to this fact is attached.

       The Government believes that, with respect to the eight digital documents underlying the
Indictment, this disclosure completes its compliance with its discovery obligations as set forth in
paragraphs 1(a) and 1(b) of the Court’s January 9, 2018 Order.




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Criminal No. RDB-17-0069
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         Please feel free to contact us with any questions or concerns.

                                                      Respectfully,

                                                      Robert K. Hur
                                                      United States Attorney

                                                             /s/
                                                      Harvey E. Eisenberg
                                                      Chief, National Security Section

                                                      Zachary A. Myers
                                                      Nicolas A. Mitchell
                                                      Assistant United States Attorneys

                                                      David Aaron
                                                      Trial Attorney
                                                      U.S. Department of Justice
                                                      National Security Division
Attachment

cc: U.S. District Judge Richard D. Bennett, via electronic filing (without attachment)




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